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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


IN RE: FCA US LLC MONOSTABLE
ELECTRONIC GEARSHIFT                          Case Number: 16-md-02744
LITIGATION
                                              Honorable David M. Lawson
MDL No. 2744                                  Magistrate Judge David R. Grand


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             PROPOSED AGENDA FOR DECEMBER 13, 2017
                     STATUS CONFERENCE

      Pursuant to the Court’s Order Setting Initial Scheduling Benchmarks, the

Parties by and through their undersigned counsel, hereby jointly propose the

following Agenda for the Status Conference scheduled for December 13, 2017:

      1.    Joint Case Management Statement

      2.    Status of Discovery

      3.    Status of Personal Injury Cases

      4.    General Mediation Issues

      5.    Timing of Response to Maneotis Amended Complaint
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Dated: December 6, 2017

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

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ELECTRONIC GEARSHIFT                             Case Number: 16-md-02744
LITIGATION
                                                 Honorable David M. Lawson
MDL No. 2744                                     Magistrate Judge David R. Grand

                                           /

                          CERTIFICATE OF SERVICE


      I hereby certify that on December 6, 2017, I electronically filed the

foregoing documents using the Court’s electronic filing system, which will notify

all counsel of record authorized to receive such filings.


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